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Exhibit 5

DEBTOR($):_\_\M?Y_\ \ 3 g MoNTHLY oPERATle REPQRT
cHAPTER 11
cAsE NuMeER: MV(
Form 2-A

COVER SHEET

Fcr Pericd End Date: E gin ` D§E,`;

Acccunting Method: Ucrual Basis ECash Basis

 

TH.I'S REPORTIS DUE 21 DAYS AFTER THE END OF THE MONTH

Deblor must allach each oflhe following documents unless the U. S. Tmstee

 

Mark One ch for Each has waived the movement in wl'itlng_ File the original \M'th the Clerk of Cnurl.
Required Docul'nent: Suhmil a duplicale, with original signature to lhe Ll. S. Tmslee.
Repo¢tlDocument Prevlcusly
Attached Wllved REQU|RED REPORTSIDOCUMENTS

 

‘l. Cash Receipts and Disursements Statemenl (Form 2-B)
2. Balance Sheei (Form 2-C)

3. Proflt and Loss Statemem (Fcrm 2-D)

. Supporting Schedules (Form Z-E)

'5. Quarler|y Fee Summary (Fcrm 2-F)

'6. Narrali\le (Form 2-G)

'7. Bank Staternerll;s for A|| Bank Accounts

(Redacl all lulli last 4 digits of account number and remove check lmages)
8. Bank Staternent Reconci|iations for all Bank Accnunts

[:|El:|[:|l:ll:lEE

WR@@@@@@@

\»._`1 l D~. 9 Evidence of insurance for all policies renewed or replaced during month

 

l declare under penalty cf peq'ury that the following Monthly Operatlng Report, and any
attachments thereto are true, accurate and correct to the best of my knowledge and bellef.

Executed an:(_:}."l@`§§j, Print Name: \._M).,\f:‘) `\'\l' m

Signature:

Tirla: Yl§‘x.\j()t:b{`

 

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Exhibit 5
DEe'roR(s):] §§QQ m §§ 2d l LL f. CASE NO= W’\
Form 2-B
CASH RECE|PTS AN D SBURSE EN S STATEMENT
For Period: _\ to
CASH FLOW SU|VMARY Current
M_Onlh A_M
'1. Beginnin| Cash Balance $ M) $ m"__'(‘l)
'2. Cash Receipts ®
Operalions
Sale of Assets
Loansladvances __
Other B?_M-
Toel Cash Receipfs $ Z£l.ae_-CE> $ m
'3. cash Disbursements
Operat'ons
Debt Sen»icelSecured loan payment __
Professional fees/U.S. Trustee fees Ldzm - 4?-%50-%
Profession fees paid from Retainer (e.g. COLTAF accl)
Olher lmorx_p` L»\A~`\\'\"l*\c.$ »')_\“O‘\’l_-\_-\% 1
rural cash Disbursemene $ ; $ WD
7 .
4. Net Cash Flow (l'otal Cash Recelpts less
Tota| Cash Disbursemenls) " LQO<')’\~\-,‘% mead
5 Ending cash salance no Form 2-c) s M'(z) s W
CA.Sl-| BALANCE SUNIIARY Book
Financial institution Balance
Peuy cash NIA $
DlP Operating Account %')_Q\O _"\%
DlP stare Tax Accoum N _A
DlP Payroll Account §§ M§
Ol.her Operating Account \\\j),g_
Retainers held by professionals (i.e. COLTAF)MQDM_|__&H g
TOTAL (n'ust agree with Ending Cash Balance above) $ U'Q)

(1) Accumulared beg'nning cash balance is the cash available at the commencement of the case and relainers.
Currenl month beg'nnlng cash balance should equal the previous month's ending balancel
(2) All cash balances should be the same

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Exhib`!t 5

DEBTOR(S): MZHD § l`m?_~d \ !§: cAsE No: BMT@/[
Form Z-B
cAsH REcElPT A onlsauRs M Ts sTATEMENT
For Period: to

CASH DISBURSEMENTS DETA|L Account No:§§:_j 222 l

(attach additional sheets as necessary

 

l_ Date llCheck No.ll Payee J L Descriplion (Purpose) l l Amount j

Bl'\\\% \\oo comm wm ms .:EC`__
‘E>\\%\\% \\C>'\ C,`\’<\,BOQ mci \l\lo’ror hm\'\>@)\ 399 30
@\\a\\s has ice was esso harsh maris

Total Cash Disbursernents $ml)

{1) Total for all accounts should agree with total cash disbursements llsted on Form 2-B, page t

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oEeToR(s): lfj&(\ €‘jt,£\-\\-\’V~d \t§::

Form 2-C

§X_hi_bii§
cAsE~o= to;\cauzsr%vt

COMPARAT|VE BAL NC SHEET
For Perlod Ended:
Current Pelition

ASSETS

Current Assets:
Cash (from Form 2-B, line 5}
Acccunts Receivable (from Form 2-E)
Recelvable from OFlicers, Emp|oyees, Afliliates
inventory
Other Current Assets :(List)

Total Current Assets

Fixed Assets:
Land
Bui|ding
Equipment, Fumiture and Fi>cures
Total Fixed Assets
Less: Accumulated Depreciation

Net Fixed Assets
Olher Assets (List):

TOTAL ASSETS

LIABlLlTlES
Post-petiljon Account.s Payable (from Form 2-E)
Post-petjtion Accrued Profesiona| Fees (from Form 2-E)
Post-pelition Taxbs Payable (from Form 2-E)
Post-petib'on Notes Payable
Olher Post-peb'tion Payable(List):

Total Post Petition Liabilities

Pre Petition Liabilities:
Secured Debt
Priority Debt
Unsecured Debt
Tota| Pre Petition Liabilities
TOTAL L|AB|L|TIES

OWNERS'EQUIW
CJv\ner's/Stockholder‘s Equity
Retained Earnings - Prepetition
Retained Earnings - Post-petition

TOTAL OWNERS' EQU|TY
TOTAL LlABILlTlES AND OWNERS' EQU|TY

Momh mate (1)

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Exhib!t 5
DEBTOR(S): HB § 5 ram 2d § lt :! CASE NO -'
Form 2-D
PROF|T AND LOSS STATE E T
For Period _E):\_]__\_\ii)_to Bl“f'}§ lig
Current Accumulated
Month Tota| (1)
Gross Operating Revenue $ $
Less: Discounts, Returns and Aliowances ( ) (

Net Operating Revenue
Cost of Goods Sold

Gross Profit

Operating Expenses
Offlcer Compensation $
Seling, &nera| and Adminisiraiive
Rents and Leases
Depreciaiion, Depletion and Amoriiza'don

 

 

Ower clie): t Dr`\\ i*hc,¢> Q‘E>'i’)_‘i fla
Total Operating Expenses $
Operating lncorne (Loss) $ " H_m »'\@

Non-Operating income and Expenses
Oi:her Non-Operating Expenses $
Gains (Losses) on Sale of Assets
inwrest income
interest E)q:ense
Oiher Non-Operating income

Net Non-Operating income or (Expenses)

Reorganization E)cpenses

Legai and Professional Fees $
Other Reorganization Expense
Total Reorganization Expenses $ SZ
Net income (Loss) Before income Taxes $ m%
Federal and State income Tax Expense (Benelit)
NET lNcoME (Loss) $ -_EI\_.'\_E>

(1} Accumulated 'l'otals include all revenue and expenses since the petition datie.

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M!?i_f§

oEe'roR(s): nw § § §Mfw t L§f , cAsE umij

Form 2-E (Page 1 of 2)
SUPPORT|NG SCHEDULES
For Period: B"\ `§Bd to &|\2)\ ` \&
of T

1 2 4

    

Unpaid post-petition Post-petiiion taxes Post-petiiion tax Unpaid post-petition
taxes from prior accrued this month (new payments made this taxes at end of reporting
oftax 1 month month columns 1+2~

withheld

FICA taxes wiii'lheid
FlCA taxes

Oiher:

Personai
Reai
Olher:

Tot.ai taxes
(1) For first report, the beginning balance in column 1 will be $0; thereafter, beginning balance will be ending balance from prior report.

ins

Premium paid through
of carrier amount on date date
Workers'
Generai ii "

q

Vei'licle

Oll'ler
if were renewed or attach new certificate of

 

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§ML¥§

DEBTOR(S)=WLL cas whomqu
Form 2-E {Page 2 of 2}

SUPPORT|NG SCHEDULE
For Period: B. ] `]% go

Total at month

Acccunts
30 or less

detailed

31!060 O\BrQD

Total at month end

 

 

 

 

 

 

 

 

 

 

 

 

 

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Month-end Current Psid in

Retalner lilionth's Current Court Approval Month-end
Baiance Accrua| Month Date Bahnce Due *

Debtor's Counsel $ 05 $

Counsei for Unsecured N A l

cleaners converse lsi A

Trustee's Counsel § h

Accountarrt 13 fly

Other: § A

Total $ '(`7$

 

 

 

 

 

 

 

‘Bnllnce due to include feesand expenlzl;currod but not yet pald.

S
Nature of

 

**Li¢ payment and sanders of any kind and in my form made to or for the benefit oflny proprietor, own¢r, partnor. illnhotd¢r. dillc¢r, or dinctnr.

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E_Xbl>.if_§
DEBTOR(S): CASE NO: '
Form 2-F
QUARTERLY FEE SUMMAR¥ *
For the Month Ended: M&
Cash Quarte r|y Date
Month ‘(ear Disbursements ** Fee Due Check No. Paid

 

January $
February
N'arch w B()

TOTAL 151 Quarter $ §§ §§ § $ §' LS.`"' §§ij M

§§ §§ $ \?)%"r.?>@
ld~t‘l®.'ii)
June fm : E Q\

TOTAL 2nd Quarter $_”__\:}:E£;,M;_ $_L@; _DLI)_
Juiy \ $
gee gm

 

 

September
TOTAL 3rd Quarter $ $
October $
November
Decen'ber
TOTAL 4ih Quarter $ $

 

 

EDULE las of JANUARY 1, 2008)
that may occur to 28 U. S. C. §1930(3) (6)

Quarterh¢ Disbursements F;oe ganey Disbursements fee

$0to$14,999 ................. $325 $1.000,000 to$1,999.999 ............ $6.500
$1 5, 000 to $74,999 ......... $650 $2, 000, 000 to $2,999.999 ............ $9.750
$75,000 to $149,999....... $975 $3, 000, 000 to $4.999, 999 ............ $10.400
$150.000 to $224,999..... $1,625 $5,000,000 to $14,999,999 .. .. $13,000
$225, 000 to $299,999 ..... $1,950 $1 5. 000, 000 to $29,999,999.... $20,000
$300,000 to $999, 999 ..... $4,875 $30,000, 000 or more $30,000

 

* This summary is to reflect the current calendar year's information cumulative to the end of the reporiing period

** Shou|d agree with line 3, Form 2-B. Disbursernents are net of transfers to other debtor in possession bank accounts

Feilure to pay the quarterly fee is cause for conversion or dismissal of the chapter 11 cese. [11 U.S.C. Sec. 1112(1:)(1 O}]

in addition, unpaid fees are considered a debt owed to the United Sretes and mill be assessed interest under 31 U.S. C. §3717
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E_xlevM

DEBToRiS)AM CASE NO=\_%JC£!¢XJEM

Form 2-G

NARRA lVE
For Period Endtng

Please provide a brief description of any significant business end legal actions taken by the debtor, lte creditors,
or the court during the reporting perlod, any unusual or non-recurring accounting transactions that are reported in
the financial statementsl and any significant changes in the financial condition of the debtor which have occurred

susequent to the report date.

Nc> i>\%n&`icor\=r mr§i=> m l>\\)%\y;;§r

 

 

 

 

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'C`heck pate _Ar_noun_t
. 1'105 -e-? ssso~.ocr _ _
Pape`_r Checks- Pald $650.0`_0
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Check D`e_te
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Total peper'checks.and echecks paid $1,049.86
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`8-13 _Qirect Wi`th drawal, Xcel l§__ng_rghl?scoxcelenegy $25.327.`92
total subtractions. ' $26,377,,1.8_1

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Bueinees:Beni`rin'g -Ste.ten'_lent
Auguet 31, _20`1$
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F.e_e end _
eha`:gee‘ Date .Quantity- UnitjCharge

18¢31_-‘18 Pepen Stetement Fee v '1l 3~.00._ -.-$§lu]g

-8-31-18` Service'Charge Wal\re `l_'o R'e|'eticnsl'iip Pricing _ 'l 3;00 + . ,

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page 3 of 3

 

 

 

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: .'lg.j;ll re W.UY;B;MW;L mm mm md ug|m a cheek orotl'_ier transaction shown on misstatement
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. 'u' . °.' `u".'mm ..' wwt?“m' _ ' 'Ch`eoke `or other deductions ehown'on our-etateme_nt,_that
It'you tell merelly.\iie niey_rei:|uii'e thetyous`eni_:l'usyoureempteint or'ques_tion in tv`rlting' you md mta]mady entered

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5:32 PM _ 11380 Smlth Rd, LLC
emma Reconci|iation Detai|
KeyBank #4022, Period Endlttg 08131!2018
Type Date Num _k blame £|r f Amountimr w _El|ori_oe
Boginnlng Balance 34,674.05
Cleared Transactlons

Checks and Paymenw - 3 items
Chock 08/0712015 1105 United Siates Trustee X -650.00 -650.00
Check 08/07!2018 DR 08... City of Aurora X -399.86 -1,049.86
Check 08/1 312018 DR 08... Xoel Energy X -25,327.92 __ 7 -26.37?.78
Total Checks and Payments -26.377.78 -26,377.78

Deposits and Credli:s - 14 items
Bill Pmt -Check 03/11!2018 Weinman 81 Assoc;ia... X 0.00 0.00
Bill Pmt -Check 03/1 512018 Brownl Berardini & X 0.00 0.00
Bii| Pmt -Check 03125!2015 Weinman & Associa... X 0.00 0.00
Bill Pmt -Check 04/15!2018 Erown, Berardtni & X 0.00 0.00
Bill Pmt -Check 04125!2018 Weinman & Associa... X 0.00 0.00
Bill Pmt »Check 04125/2018 Weinman & Associa... X 0.00 0.00
Bill Pmt -Chec:k 05115{2018 Brown, Berardi'n| & X 0.00 0.00
Bill Pmt -Check 05115{2018 Brown, Berardini & X 0.00 0.00
Bill Pmt -Check 05115/2018 Brown, Berardini & X 0.00 0.00
Bill Pmt -Check 05!23!2018 Weinman & Associa... X 0.00 0.00
Bill Pmt -Check 05!31/2018 Shapiro Bie|ing Bar... X 0.00 0.00
Bill Pmt -Check 05!31)'2018 Shapiro Bieging Bar... X 0.00 0.00
Bill Pmt ~Check 07117!2018 Weinman & Associa... X 0.00 0.00
Bill Pmt -Check 07/1 71201 8 Weinman & Associa... X 0.00 0.00
Total Deposits and Credits 0.00 0.00
Total C|eared Transactions -26,377.78 -26,377.78
C|eared Balanoe »26,377.78 B,296.27
Register Ba|ance as of 08/31!2018 -26,377.78 8,296.27
Ending Balance -26,371.78 8,296.27

 

 

 

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5:32 PM 11380 Smith Rd, LLC
emma Reconci|iation Summary
KeyBank #4022, Period Ending 08131!2018
Aug 31, 18
Beglnnlng Balance 34,874.05
Cleared Transact|ons
Checks and payments - 3 ltems -26,377.7’8
Depooli: and Credltx - 14 items 0.0_0
Total Clearod Transactlons -26,377.78
Cleared Ba|anca 8,296.27
Register Ba|ance as 0108131.'2018 8,296.27
Endlng Ba|ance 8.296.27

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